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                                  EXHIBIT 12
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     Office of
     Inspector General
     Chicago Board of Education
     Nicholas Schuler, Inspector General




                             SIGNIFICANT ACTIVITY REPORT



                                                            T U E S DAY , O C TO B E R 2 4 , 2 0 1 7


  FORMER CPS EMPLOYEES NOT ELIGIBLE FOR REHIRE WORKING AT CHARTERS AND CONTRACTS

 A review conducted by the Office of Inspector General for the Chicago Public Schools
 discovered that 163 former CPS employees with permanent “Do Not Hire” (DNH)
 designations in their CPS files were working at CPS charter and contract schools.
 The review looked at all employees of CPS charter and contract schools working as
 of December 2016. Key points include:
     o The 163 former CPS employees with DNH designations equals 2% of the total
       number of workers employed by CPS charter and contract schools.
     o 98 of the 163 (60%) employees barred from returning to CPS were working
       in charter or contract schools as teachers.

     o 34 of the 163 (21%) were employed at charter or contract schools as
       administrators or managers. Ten of those were given DNH designations by
       CPS for falsifying or forging CPS documents. Seven of the administrators and
       managers identified were classified as DNHs for theft, misappropriation of
       funds, fiscal mismanagement or waste of funds.
     o Three employees found working at charter or contract schools during the
       2016–17 school year were designated as DNHs by CPS for sexual abuse.
       Those employees are no longer working at those schools.
     o 22 former CPS employees who were designated as DNHs due to improper
       corporal punishment or physical abuse of students were working in charter
       or contract schools during the 2016–17 school year. Based on their job titles,
       two of those former employees apparently were holding positions at those
       schools with increased disciplinary responsibilities.
     o Former CPS employees with DNHs were found working for 33 different
       charter or contract operators. Four of those operators employed 11 to 27

                 567 West Lake Street  Suite 1120  Chicago, Illinois  60661-1405
        Phone (773) 534-9400  Fax (773) 534-9401  inspectorgeneral@cpsoig.org
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        individuals with DNHs, 11 of the operators employed 4 to 8 of those
        individuals, and 18 employed 1 to 3.
     o Five percent of all CPS employees who received DNH designations in the last
       five years were found to be working in charter or contract schools.

     o The charter and contract schools apparently did not know that they were
       hiring employees who had been given DNH designations by CPS, because
       there was no system in place by which charter or contract schools could learn
       whether their employees or prospective employees had received those
       designations.
     o On June 30, 2017, the OIG issued a summary report (OIG 16-01121) to the
       Chicago Board of Education that detailed its findings and recommendations.
       The OIG recommended that the Board develop and implement a policy or
       program through which charter schools could learn (1) whether their current
       employees or prospective hires have received DNH designations from CPS,
       and (2) the reasons for those designations. Additionally, in DNH cases that
       raise legitimate concerns about child safety and welfare, the OIG
       recommended that CPS should notify charter and contract schools when it
       becomes aware that those employees are working at those schools.
     o The Board recently advised the OIG that it took action with respect to the
       situations the OIG had identified as presenting the most critical danger to
       students. Specifically, CPS contacted the charter schools that employed
       individuals found by CPS to have been sexual abusers, and those individuals
       are no longer working at those schools. The Board also advised the OIG it is
       working to establish a broader method by which charter and contract schools
       will be able to receive DNH information from CPS.


 PREVIOUS OIG INVESTIGATIONS SPURRED THIS REVIEW
 In June 2016, the OIG reported to the Board that it had discovered that two former
 CPS employees, who had been given DNH designations, obtained positions at CPS
 charter or contract schools after resigning from CPS in the wake of OIG
 investigations. The OIG subsequently initiated this review to determine how many
 former CPS employees with DNH designations were working at CPS charter and
 contract schools.




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 THE REVIEW

        A. M ETHODOLOGY
 To identify former CPS employees with “Do Not Hire” (DNH) designations who were
 working at charter or contract schools, the OIG asked all CPS charter and contract
 school organizations for a list of their employees as of December 20, 2016. After
 receiving that information, the OIG compared the employee list against former CPS
 personnel with DNH designations in their electronic personnel records.
 As stated above, the OIG found that 163 former Chicago Public Schools employees
 with permanent DNH designations in their CPS files were working at CPS charter
 and contract schools. The OIG then asked CPS to provide the reasons for why it
 placed DNH designations in those employee files. After CPS provided that
 information, the OIG requested additional file materials on a selection of former
 employees who were designated as DNHs for serious offenses. The OIG also
 interviewed CPS personnel to better understand the district’s policies and practices
 with respect to this issue.
 The OIG’s new Performance-Analysis Unit contributed significantly to the work on
 this project. The OIG’s review began in the fall of 2016, before the Performance-
 Analysis Unit was established in January 2017, but after it was formed the unit
 contributed extensively to the work on this review.
        B. T YPES   OF   M ISCONDUCT
 The table below shows the reasons why the 163 former employees identified by the
 OIG were given DNH designations.

                               Misconduct Types Associated with DNHs        Instances
   1.      Incompetence/Unsatisfactory performance                             43
   2.      Violating school rules                                              33
   3.      Corporal punishment/Physical abuse                                  22
   4.      Forging or falsifying official school or Board documents            17
   5.      Repeated acts of misconduct                                         16
   6.      Employee attendance                                                 16
   7.      Residency                                                           16
   8.      An assault, threat or abuse resulting in physical contact           13
   9.      Falsifying employee attendance or employment records                10
  10.      Job application fraud                                                9
  11.      Negligence/Incompetence — Students                                   7
  12.      Theft/Misappropriation of funds                                      7




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                               Misconduct Types Associated with DNHs                       Instances
  13.      Insubordination                                                                    6
  14.      Irremediable conduct                                                               6
  15.      Policy non-compliance                                                              6
  16.      Verbal abuse                                                                       5
  17.      Serious ethics violation                                                           5
  18.      Other                                                                              4
  19.      Drug/Alcohol Violation                                                             4
  20.      Fiscal mismanagement or waste of funds                                             4
  21.      Making false statements                                                            4
  22.      Negligence/Incompetence — Other Duties                                             4
  23.      Sexual abuse                                                                       3
  24.      Sexual harassment                                                                  3
  25.      Conduct causing psychological or physical harm or injury to a student              2
  26.      Inattention to duty, sleeping on duty                                              2
  27.      Using cellphones, etc., while supervising students                                 2
  28.      Using work locations or materials to conduct a secondary business                  2
  29.      105 ILCS 5/24A-5 Unsatisfactory evaluation                                         1
  30.      Conviction for an enumerated crime as defined in the Illinois School Code          1
  31.      Discourteous treatment                                                             1
  32.      Failure to perform duties                                                          1
  33.    Test cheating                                                                  1
 * Total number of instances equals 276 because some employees with DNH designations committed
    more than one offense.
 ** Some similar misconduct types were grouped into a single category for this analysis.


        C. OIG I NTERVIEWS      WITH   CPS P ERSONNEL

 After discussing this matter with CPS personnel, the OIG learned that, in the past,
 CPS did not routinely share its DNH designations with its charter or contract
 schools. The OIG also learned that CPS officials have been discussing ways to address
 the situation since the OIG first raised this issue with the Board in June 2016.
 However, no plan of action had been implemented by the time the OIG issued its
 report in June 2017. Several CPS officials voiced concerns about the information
 they could or should share with charter and contract schools. For example, a CPS
 official suggested that CPS might not have the authority to tell charter schools who
 they could not hire.
 Despite those reservations, the OIG learned that there were internal CPS discussions
 during the 2016–17 school year about implementing a first-step plan to conduct



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 DNH checks on pending hires at the 129 charter or contract campuses that currently
 use CPS to do their pre-hiring background checks (approximately half the charter
 and contract schools). CPS then would alert those schools if it detected any DNHs
 during the background checks. If the charter then asked CPS about the basis for the
 DNH, CPS might consider sharing that information on a case-by-case basis. One
 official told the OIG that the proposed screening of prospective employees at charter
 and contract schools might not apply to positions in network offices because they do
 not have contact with students.
 Additionally, one official speculated that CPS probably could address this matter in
 future contracts with charter or contract schools. According to that official, CPS
 probably could include terms in those contracts regarding job-candidate waivers
 that would allow for the disclosure of DNH information to charters so that those
 schools could make informed decisions.


 OIG RECOMMENDATIONS IN JUNE REPORT
 Despite the Board’s concerns and the lack of clear precedent in this area, the OIG
 concluded that the Board should find a way to ensure that its chosen charter- and
 contract-school operators — who teach the district’s own public school students
 with money the district provides — know when their employees or prospective
 hires have received DNH designations from CPS for serious offenses. The OIG
 recommended that, at the very least, the Board should disclose DNH information
 when it involves proven sexual and physical abusers in the CPS system. The OIG
 further recommended that the Board also should disclose DNH information with
 respect to employees who have committed financial crimes, fraud and other serious
 misconduct so as to prevent those employees from committing similar acts at CPS
 charter and contract schools. Accordingly, the OIG recommended that the Board
 develop a policy or program that:
   1.   Alerts all contract and charter schools to the possibility that their existing
        employee rosters may contain former CPS employees who have DNH
        designations in their files;
   2.   Provides a means by which charter and contract schools can then seek from
        CPS, and be given, relevant information, at least in certain serious cases;
   3.   Provides a means by which charter and contract schools can have all
        potential hires screened for CPS DNH designations and be given relevant
        DNH information, at least in certain serious cases; and

   4.   Requires that in DNH cases that raise legitimate concerns about child safety
        and welfare, CPS immediately notify charter and contract schools when CPS




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        becomes aware that employees with DNH designations are working at such
        schools.
 The OIG acknowledged that the Board reasonably may conclude that disclosure of a
 former employee’s DNH status may not be warranted in some cases. For example,
 many of the DNHs the OIG found resulted from poor teaching performance by
 probationary teachers. With additional training, a new principal or a different
 setting, a rookie teacher might be ready to excel. Residency violations also may not
 warrant disclosure to charter or contract schools. Those schools do not have a
 residency requirement and may not feel the need to exclude prospective employees
 whom CPS designated as DNHs for failing to live in Chicago.

 The OIG further advised that CPS’s then-tentative plan to address DNHs of
 prospective employees was a good start, but that the plan should extend to existing
 charter and contract school employees, including those who might have received
 DNH designations from CPS after they had already obtained positions with charters.
 Furthermore, the OIG recommended that the screenings should cover all employees,
 including those in administrative roles at network or main offices. The OIG advised
 that the potential plan to amend contracts with charter and contract schools to
 require prospective employees to allow CPS to disclose DNH information appeared
 to be a promising approach. The OIG encouraged the Board to explore whether such
 a provision might be extended to existing employees of charter and contract schools.


 RESPONSE FROM THE BOARD
 The Board recently responded to the OIG’s report, informing the OIG that CPS
 addressed the four most serious cases discussed in the OIG’s report — the three
 former employees given DNHs for sexual abuse and the one former employee given a
 DNH for an enumerated offense. The OIG also learned that CPS is continuing to
 develop a plan to address this problem more broadly. The four pressing cases and
 CPS’s broad plan are discussed in more detail below.
     A. F OUR C ASES A DDRESSED   BY   CPS

 In its June 2017 report to the Board, the OIG stressed that the conduct associated
 with some of the identified employees was serious enough to warrant immediate
 attention. The most pressing were three charter or contract employees who had
 been designated as DNHs for sexual abuse.
 One of those employees was a former CPS elementary school teacher who was fired
 and classified as a DNH for sexually abusing two of his students at his home and
 inappropriately touching a third student during class. The OIG discovered that he
 was working at a charter school as a teacher in Chicago during the 2016–17 school
 year. According to the Board’s response, after CPS fired the employee, it notified the


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 Illinois State Board of Education that the teacher was terminated for “child abuse,”
 but the Board was not certain whether ISBE ever began the process to revoke his
 teaching certificate. The Board further informed the OIG that CPS has contacted the
 charter school about the teacher, and he has since been released by the school and is
 no longer working there.
 The second employee who was classified as a DNH for sexual abuse was fired by CPS
 after it was discovered that he had a sexual relationship with a 17-year-old student.
 During the 2016–17 school year, that former CPS employee was working in a charter
 school as a teacher. The Board advised the OIG in its response that CPS contacted the
 charter school about this former employee, and the charter initially refused to take
 any action with respect to him. Apparently, the charter already was aware that the
 employee had been arrested for criminal sexual assault because that was discovered
 during the criminal background check conducted when he was hired. Despite the
 arrest, the charter hired him after he presented expungement paperwork showing
 that his criminal record was clear. In August 2017, however, CPS learned that the
 Illinois Department of Children and Family Services “indicated” a finding against the
 employee for a more recent act of misconduct against a minor. After the Board
 shared that new information with the charter, the school removed the employee
 from its worksite pending the outcome of its investigation of the matter.
 The third employee with a DNH designation because of sexual abuse resigned from
 CPS following allegations that he hugged a student and made explicit sexual
 advances towards the student. During the 2016–17 school year, that former
 employee was working in a classroom setting at a charter school. In the Board’s
 response, it advised the OIG that CPS contacted the charter and learned that the
 employee had been released by the school in 2016.
 In addition to the DNH designations resulting from sexual abuse, the OIG also raised
 immediate concerns about a former CPS employee who was fired and classified as a
 DNH after CPS discovered she had been convicted of an “enumerated offense,” a
 classification that bars someone from working in an Illinois public school (see 105
 ILCS 5/34-18.5(c)). In this case, records indicated that the employee was convicted
 of a felony involving the delivery or manufacture of cocaine. The OIG discovered that
 this employee was working at a charter school during the 2016–17 school year.
 According to the Board’s response, CPS looked into this matter and learned that,
 although the charter hired that employee when she still had a conviction for an
 enumerated offense on her record, that conviction has since been expunged and, as a
 result of a recent statutory amendment, the conviction is no longer an enumerated
 offense barring her from working in Illinois schools, given the number of years that
 have elapsed. As such, CPS believes she is still employed by the charter school where
 she was working last year.



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     B. T HE B OARD ’ S P LAN TO R ESOLVE   THE   B ROADER P ROBLEM
 The Board said it is developing a protocol for notifying charter and contract schools
 when their candidates for hire have CPS DNH designations, and also apprising those
 schools of the basis for those DNHs so that the schools can make an informed
 decision about whether to hire those candidates. The Board is working with charter
 and contract schools to amend their existing contracts to allow DNH information to
 be shared during the screening of prospective employees. This process is already
 underway at a few charter schools. The Board hopes to have a framework in place
 with certain charter and contract schools by the end of the calendar year.
 Some charter schools have already agreed to include consent language in their
 employment applications stating that the Board is allowed to provide those schools
 with job candidates’ DNH information, including the basis for the DNHs. The Board
 has completed the process changes necessary to provide DNH information to those
 schools that have added that consent language. Accordingly, when job candidates at
 those schools complete applications giving their consent, and those schools provide
 the Board with that documentation, the Board will inform those schools of any DNH
 information pertaining to the candidates, if it exists.
 The Board stated that it believes there are two primary categories of concerns. First,
 employees who have been convicted of enumerated offenses should not be able to
 work at charter or contract schools. While there may be some instances when
 convictions are expunged or the impact of the enumerated offense changes with the
 passage of time, employees who continue to have an enumerated offense on their
 record cannot work at CPS, a charter school or a contract school. Second, some
 employees who have not been convicted of an enumerated offense may still have
 engaged in misconduct so serious that they present an unacceptable risk to students
 or others.
 The Board intends to provide prompt notice to charter and contract schools when
 the Board learns that prospective employees at those schools have been convicted of
 sexual crimes or have indicated DCFS findings on their record. Illinois statutes,
 however, only prohibit schools from employing individuals who have been convicted
 of enumerated offenses. Beyond that prohibition, charter schools have been given
 considerable latitude, by statute, with respect to their hiring decisions. The Board
 exercises its discretion to decline hiring a broad range of persons who have not been
 convicted of enumerated offenses but, in the Board’s judgment, still present a risk to
 the safety of students, staff and others. Although the Board decides not to hire those
 individuals, it does not have a statutory basis to require charter schools to defer to
 the Board’s conclusions about the risks presented by those individuals.
 In addition, the Board said it would prefer to expand the assistance it provides to
 charter and contract schools with respect to criminal background checks. The Board


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  already conducts background checks for prospective employees at some charter
  schools. However, under the current system, the Board transmits the results to the
  charters and those schools have the responsibility of reviewing those documents
  and determining whether they show convictions for enumerated offenses or other
  information calling a candidate’s fitness into question. The Board would prefer to
  handle the screening process at charter schools the same way it handles the process
  with respect to CPS candidates. If the Board were more involved, it could identify
  when charter candidates were convicted of enumerated offenses and then inform
  those schools that they cannot hire those candidates. Furthermore, the Board could
  share DCFS reports and refreshed criminal background reports on current
  employees of the charter and contract schools, if those employees consented. The
  Board said it is hopeful that it can persuade charters to increase its involvement in
  this manner.
  The Board said that, while it is prioritizing sharing information with respect to
  prospective charter and contract school employees and already has begun working
  with charter schools to allow for that, it fully intends to extend that process to cover
  current employees as well. Sharing information about current employees will
  require further amendments to contracts and an effective legal means to take
  employment actions where needed.
  Overall, the OIG is encouraged that this issue has received substantial attention from
  the highest levels at CPS, and that the Board is working on a remedy to solve this
  problem. The OIG will continue to monitor this important issue.




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